Entered: July 16th, 2018
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Signed: July 16th, 2018

SO ORDERED
REIMBURSEMENT TO BROKERS FOR THE APPROVED REASONABLE,
NECESSARY COSTS AND EXPENSES OF PRESERVING OR DISPOSING
OF THE SUBJECT PROPERTY SHALL BE DUE AND PAYABLE ONLY
FROM THE PROCEEDS OF SALE UPON CLOSING ON A SALE
PROCURED BY THE BROKERS DURING THE TERM OF THE
APPLICABLE LISTING AGREEMENT




                                     UNITED STATES BANKRUPTCY COURT
                                      FOR THE DISTRICT OF MARYLAND
                                              (Greenbelt Division)

         In re:                                    )
                                                   )
         VERNON OSBORNE WILLIAMS, II,              )                    Case No. 18-16962-WIL
                                                   )                    Chapter 7
         Debtor.                                   )
         __________________________________________)

              ORDER AUTHORIZING THE CHAPTER 7 TRUSTEE TO RETAIN BK GLOBAL
               REAL ESTATE SERVICES AND MARYLAND REO REALTY TO PROCURE
                CONSENTED PUBLIC SALE PURSUANT TO 11 U.S.C. §§327, 328 AND 330

                   Upon the Application of Merrill Cohen, the trustee in the above-captioned case

         (“Trustee”), to Retain BK Global Real Estate Services and Maryland REO Realty to Procure

         Consented Public Sale pursuant to 11 U.S.C. §§327, 328 and 330 (the “Application”), and the

         Court having reviewed and considered the Application and the Affidavit of Disinterestedness and

         found the same to be in the best interest of the Debtor and creditors of the estate, and having

         found good and sufficient cause to grant the requested relief, the United States Bankruptcy Court

         for the District of Maryland the Court hereby FINDS as follows:

                    A.     The Court has jurisdiction over this matter pursuant to 28 U.S.C. § 157(b)(2).

                    B.     Venue of this Chapter 7 case and the Application is proper pursuant to 28 U.S.C.

         §§ 1408 and 1409.

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          C.       Notice of the Application was adequate and proper under the circumstances.

          D.       BKRES1 and Listing Agent are disinterested persons within the meaning of

Bankruptcy Code Section 101(14).

                   ACCORDINGLY, based upon the foregoing findings of fact, it is by the United

States Bankruptcy Court for the District of Maryland

          ORDERED, that the Application be and is hereby GRANTED, and it is further

          ORDERED, that the Trustee is authorized to retain and compensate BKRES and local

licensed Listing Agent to provide the necessary professional assistance and representation

required by the Trustee to fulfill the Trustee’s duties pursuant to 11 U.S.C. §704 in order to

procure Secured Creditor’s Consent, and otherwise market and sell the Property, in Debtor’s

Chapter 7 case pursuant to Sections 327, 328(a) and 330 of the Bankruptcy Code, and

Bankruptcy Rules 2014 and 2016, in accordance with the terms and conditions set forth in the

BKRES Agreement, the Listing Agreement and this Order. BKRES and Listing Agent shall not

split or otherwise share their fees with any other person or entity, and it is further

          ORDERED, that BKRES and Listing Agent shall be compensated in accordance with the

BKRES Agreement and Listing Agreement, respectively, and such compensation shall not

hereafter be subject to challenge except under the standard of review set forth in Section 330 of

the Bankruptcy Code, and it is further

          ORDERED, that BKRES and Listing Agent shall be authorized to receive and retain their

fees from Secured Creditor at the successful closing of the sale of the Property without necessity

of further order of the Court. The estate shall, in no circumstance, be obligated to compensate

BKRES or Listing Agent in such event and BKRES and Listing Agent shall not have a claim
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    Defined terms not otherwise defined herein have the meanings given to them in the Application and the Affidavit.
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against the estate for any unpaid amounts. BKRES and Listing Agent, and anyone claiming by,

through or under either of them, shall only have recourse for recovering its fee to Secured

Creditor. The estate shall have no liability for any such claim, and it is further

       ORDERED, that the Trustee is hereby authorized to engage Brokers BKRES and Listing

Agent to provide reasonable and necessary property preservation, maintenance, and upkeep

services to the subject estate Property to facilitate the sale of the Property for the benefit of the

Secured Creditor(s) and bankruptcy estate, and to reimburse the Brokers in a maximum amount

not to exceed $500.00 for the approved reasonable, necessary costs and expenses of preserving,

or disposing of, the subject Property, without the need for further Order, and it is further

       ORDERED, that the Court shall retain jurisdiction to hear and determine all matters

arising from or related to the implementation of this Order.

cc:

Merrill Cohen, Trustee
Debtor
Debtor’s Attorney
United States Trustee
                                         END OF ORDER




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